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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ,
   HANNAH PEARCE, MARCUS MARTIN,
   NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                          Defendants.

                    JOINT PROPOSED DISCOVERY SCHEDULE




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           Pursuant to the Court’s October 28, 2019 order directing the parties to file a joint

  proposed schedule for completing discovery (ECF No. 582) and the Court’s November 12, 2019

  order providing the parties with an extension of time to file a proposed schedule until November

  15, 2019 (ECF No. 586), counsel for Plaintiffs, counsel for Defendants, and pro se Defendants

  conferred to prepare the following proposed schedule. 1 The parties agree on all but two of the

  proposed deadlines (Numbers 1 and 2). For those two items where there is disagreement, the

  parties’ respective positions are detailed below. There are no objections to the dates specified in

  Numbers 3 through 22, which should not be impacted by however Your Honor rules with respect

  to Numbers 1 and 2.

                                           PROPOSED SCHEDULE

      1. Plaintiffs propose that the Defendants be required to produce documents to the Plaintiffs
         within fourteen (14) days of receiving the documents from the third-party vendor.
         Defendants object to any timeline within which they must produce documents once
         received from the vendor, other than the ultimate deadline for producing documents,
         discussed below in Number 2.

               a. Plaintiffs’ position: Plaintiffs believe that in addition to a final deadline by which
                  Defendants must produce documents, there must be some limitation on the
                  amount of time Defendants have to review and produce documents once received
                  from the vendor. Such a deadline protects Plaintiffs from any additional undue
                  delay in the review and production process once documents are produced to
                  Defendants by the vendor. In addition, such a deadline allows Defendants a
                  reasonable amount of time to review and produce documents once they are
                  received by the vendor. This deadline would eliminate what has been a great
                  source of significant delays thus far – Defendants’ failure to review and produce
                  documents in a timely fashion – and would provide badly-needed accountability
                  to this process. Defendants seek an unlimited amount of time to review and
                  produce documents once received, as well as an extended deadline to produce
                  documents (discussed in Number 2), which provides virtually no incentives for
                  Defendants to produce documents more quickly.


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    James Kolenich generally communicated with Plaintiffs on behalf of all defense counsel. Plaintiffs attempted to
  contact Mr. ReBrook, counsel for Defendants Schoep, NSM and NF, but received no response, other than his
  agreement to the trial date of October 26, 2020. Defendants Kline, Heimbach, Cantwell, Vanguard America and
  Ray did not respond with any specific objections to specific dates, although Defendant Cantwell stated he is “not in
  a position to agree to any such schedule,” and Defendant Heimbach stated that he does not “believe the proposed
  timeline is appropriate given we are still waiting on the third party vendor to fulfill their obligations.”

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            b. Defendants’ position: The represented Defendants, through their counsel, object
               and state they “do[] not have the resources available to retain additional counsel
               or law clerks to meet such a deadline,” that Defendants’ counsel “do[] not have
               the time to meet such a deadline,” and that “because the [scheduling] order will
               contain a firm deadline for the production of documents/ESI, there is no reason to
               add another layer of deadlines with respect to document/ESI production.”
               Defendants added that if the Court imposes Plaintiffs’ proposed deadline, the
               Court “should provide that Defendants’ obligation to meet any firm document/ESI
               deadline is conditioned on [the third-party vendor] having timely provided to
               Defendants for their review whatever ESI [the vendor] collects.”

     2. Deadline to produce all discoverable material to opposing counsel, including material in
        accordance with the Stipulation and Order for the Imaging, Preservation, and Production
        of Documents, ECF No 383.

            a. Plaintiffs’ position: Plaintiffs propose January 15, 2020. This proposed deadline
               would give Defendants two more months to produce documents that Plaintiffs
               requested two years ago, which is ample time to complete their already
               substantially delayed productions. Additionally, given that Plaintiffs have
               provided Defendants with a third-party vendor to image the Defendants’ accounts
               and devices, there is simply no need for an additional three and a half months to
               produce their remaining documents to Plaintiffs, which would only once again
               serve to squeeze the time Plaintiffs have to review and incorporate the documents
               for depositions.

            b. Defendants’ position: Defendants propose March 1, 2020. The represented
               Defendants, through their counsel, object to the Plaintiffs’ proposed deadline and
               state that they “do[] not have the resources available to retain additional counsel
               or law clerks to enable [them] to meet such a deadline,” that “such a deadline
               would interfere with the Christmas and New Year’s holidays,” and that “such a
               deadline would interfere with and materially affect [Mr. DiNucci’s] preparation
               for the following: (a) a 2-day bench trial in Fairfax County Circuit on February 10
               and 11, 2020; (b) a 1/2 day bench trial in Fairfax County General District Court
               on February 12, 2020; and (3) a 6-day jury trial in Loudoun County Circuit Court
               on February 17, 18, 19, 20, 21, 24 and 25, 2020.” Additionally, the represented
               Defendants state that “[i]n no event would Plaintiffs be prejudiced by Defendants
               having additional time -- through March 1, 2020 -- to produce documents/ESI,
               particularly given the enormous resources Plaintiffs have (including a
               $10,000.000 fund for legal fees and the very large number of attorneys who have
               entered appearances in this case).”

     3. Submission of opening expert reports by June 29, 2020.

     4. Submission of rebuttal expert reports by July 13, 2020.

     5. Party/lay-witness depositions to be completed by July 17, 2020.


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     6. All interrogatories must be served on or before July 21, 2020.

     7. Requests for admission must be served on or before July 21, 2020.

     8. Depositions of experts to be completed by July 24, 2020.

     9. All third-party fact discovery to be completed by July 24, 2020.

     10. Dispositive motions/motions to exclude opposing party’s proposed expert’s testimony to
         be filed by August 7, 2020.

     11. Oppositions to dispositive motions/motions to exclude proposed expert testimony to be
         filed by August 28, 2020.

     12. Replies to dispositive motions/motions to exclude proposed expert testimony to be filed
         by September 8, 2020.

     13. Hearing on dispositive motions to be held on September 11, 2020.

     14. Parties to exchange witness lists by September 28, 2020.

     15. Motions in limine to be filed by October 5, 2020.

     16. Deposition designations to be filed by October 5, 2020.

     17. Counter-designations and objections to deposition designations to be filed by October
         12, 2020.

     18. Proposed jury instructions and special interrogatories to be filed by October 12, 2020.

     19. Deadline for objections to counter-designations to be filed by October 16, 2020.

     20. Oppositions to motions in limine to be filed by October 16, 2020.

     21. Integrated Pretrial Order to be filed by October 19, 2020.

     22. Trial to begin on October 26, 2020.


  Dated: November 15, 2019                         Respectfully submitted,
                                                      /s/
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                                                 Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                            Elmer Woodard
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                                                      Nathan Damigo, and Identity Europa, Inc.
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          I further hereby certify that on November 15, 2019, I also served the following non-ECF
  participants, via electronic mail, as follows:

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